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Arthur Z. Schwartz, Esq.
Advocates for Justice, Chartered Attorneys
225 Broadway, Suite 1902
New York, New York 10007
Telephone: (212) 285-1400
Facsimile: (212) 285-1410
E-Mail: aschwartz@afjlaw.com

Attorneys for Lawrence V. Otway

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------------------x

In re                                                                     Chapter 11

        LAWRENCE V. OTWAY a/k/a Lorcan Otway,                             Case No. 21-12140 (MG)

                          Debtor.

----------------------------------------------------------------------x

                         NOTICE OF APPEARANCE AND
              DEMAND FOR SERVICE OF ALL NOTICES AND DOCUMENTS

        PLEASE TAKE NOTICE, that the undersigned law firm hereby appears in the above-

captioned case and pursuant to Rules 2002, 9007 and 9010 of the Bankruptcy Rules and Section

1109(b) of the Bankruptcy Code, as counsel for Lawrence V. Otway (the “Debtor”), and

demands that any and all notices given or required to be given in this case, be given to and

served upon the undersigned at the following address:

                 Arthur Z. Schwartz, Esq.
                 Advocates for Justice, Chartered Attorneys
                 225 Broadway, Suite 1902
                 New York, New York 10007
                 Telephone: (212) 285-1400
                 Facsimile: (212) 285-1410
                 E-Mail: aschwartz@afjlaw.com

        PLEASE TAKE FURTHER NOTICE, that pursuant to Section 1109(b) of the

Bankruptcy Code, the foregoing demand includes not only the notices and papers referred to in
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the Bankruptcy Rules specified above, but also includes, without limitation, orders and notices of

any application, motion, petition, pleading, request, complaint or demand, whether formal or

informal, whether written or oral, and whether transmitted or conveyed by mail, delivery,

telephone, telecopier, telex or otherwise, which in any way relate to the debtor, its property, or

this bankruptcy case or in any way effect or seek to effect in any way the rights, obligations,

claims or interests of the debtor or its estate.

Dated: New York, New York
       January 27, 2022


                                                       ADVOCATES FOR JUSTICE,
                                                       CHARTERED ATTORNEYS

                                                       By: /s/ Arthur Z. Schwartz
                                                       Arthur Z. Schwartz
                                                       225 Broadway, Suite 1902
                                                       New York, New York 10007
                                                       Telephone: (212) 285-1400
                                                       Facsimile: (212) 285-1410
                                                       E-Mail: aschwartz@afjlaw.com

                                                       Attorneys for Lawrence V. Otway




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